Case 2:15-cr-00155-WHW Document 318 Filed 01/19/18 Page 1 of 6 PageID: 11372




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                  )
                                          )                  No. 2:15-cr-155
      v.                                  )                  Hon. William H. Walls
                                          )
ROBERT MENENDEZ and                       )
SALOMON MELGEN,                           )
                                          )
      Defendants.                         )
__________________________________________)

                 UNITED STATES’ MOTION TO PRECLUDE
             IMPROPER ARGUMENTS AND IMPOSE SAFEGUARDS
       TO PROTECT THE JURY FROM UNDUE EXTRAJUDICIAL PRESSURE

       The defendants are charged with bribery. As in any criminal case, the jury’s verdict should

be based solely on a faithful application of the law to the admitted evidence. And as in any bribery

case, a jury’s verdict should be based on whether things of value were offered or accepted to

influence, at least in part, official actions. Throughout the first trial, however, the defendants

invited the jury to nullify the law by making comments and arguments designed to politicize and

racialize this case. The jury was also exposed to extrajudicial conduct that risked improperly

influencing their examination of the evidence. The Court should preclude improper arguments

and comments and impose safeguards that will prevent the jury from being exposed to undue

extrajudicial pressure.

I.     The Defendants Should be Precluded from Making Improper Arguments and
       Comments that Politicize and Racialize this Case.

       Arguments about a defendant’s political affiliation or ethnicity have no place in a criminal

trial. See United States v. Blankenship, 382 F.3d 1110, 1126-27 (11th Cir. 2004) (expressing

“shock and disgust” at defense counsel’s attempt to “inflame the jury by unnecessarily injecting

race” into the trial with a reference to the racial history of the defendant’s hometown); United
Case 2:15-cr-00155-WHW Document 318 Filed 01/19/18 Page 2 of 6 PageID: 11373




States v. Rosado, 728 F.2d 89, 93 (2d Cir. 1984) (including claims by defendants that they are the

victims of political persecution in a list of “matters far beyond the scope of legitimate issues in a

criminal trial”); United States v. Andreas, 23 F. Supp. 2d 835, 853 (N.D. Ill. 1998), aff’d, 216 F.3d

645 (7th Cir. 2000) (“[P]er se remarks regarding [race and national origin] serve no relevant

purpose in this or any other criminal trial.”) (granting the government’s motion in limine to

preclude argument based on race or national origin); cf. Buck v. Davis, 137 S. Ct. 759, 779 (2017)

(“The statement that ‘it is inappropriate to allow race to be considered as a factor in our criminal

justice system’ is equally applicable whether the prosecution or ineffective defense counsel

initially injected race into the proceeding.”).

       Nevertheless, during the first trial, counsel for both defendants used their opening and

closing arguments to repeatedly invite the jury to consider the defendants’ ethnicity and political

affiliation in resolving the charges against them. They made baseless accusations of racial animus

on the part of the Government. See, e.g., Sept. 7, 2017, Tr. at 15 (defense opening) (“The

government wants you to believe that this entire friendship was a sham. That these men were using

each other to get things. That just because of their heritage, that they are somehow corrupt.”

(emphasis added).); id. at 27 (defense opening) (“Sal and Bob were part of a fellowship of Hispanic

Americans, entrepreneurs, businessmen, doctors, lawyers, politicians. . . . Their idea was to pay it

forward, help young Hispanic Americans improve their lives. Lift up their cultural community.

Play a larger role in American society. That’s what Dr. Melgen was about. And this case is not

only an attack on these two men, it’s an attack on that whole group.” (emphasis added)). They

gratuitously reminded the jury of the defendants’ ethnicity. See, e.g., Sept 6, 2017, Tr. at 133

(defense opening) (“There are 15 percent of the United States who are from Hispanic backgrounds.

And he will sometimes have only been the only Hispanic Senator.”); Nov. 6, 2017, Tr. at 41




                                                  2
Case 2:15-cr-00155-WHW Document 318 Filed 01/19/18 Page 3 of 6 PageID: 11374




(defense closing) (“And you have heard that at various times he was one of only one or two

Hispanic Senators addressing that population.”). And they improperly injected partisan politics

under the guise of a civics lesson. See Sept. 6, 2017, Tr. at 169 (defense opening) (“Now, I want

to do a couple of things for you to talk about your role as jurors and this is important. When these

prosecutors come into the courtroom, they oftentimes say I am here on behalf of the United States

or for the United States and they are from the executive branch of government. Their boss is the

Attorney General of the United States and the president.” (emphasis added)).

       But this case is not about race and it is not a referendum on the current Administration, nor

the last. The defendants’ racially and politically charged comments have no place in the courtroom

and serve only to confuse the issues and invite the jury to nullify the law by reaching a verdict in

violation of its oath. See United States v. Boone, 458 F.3d 321, 329 (3d Cir. 2006) (“[A] juror . . .

who commits jury nullification violates the sworn jury oath and prevents the jury from fulfilling

its constitutional role.”); cf. United States v. Armstrong, 517 U.S. 456, 463 (1996) (“A selective-

prosecution claim is not a defense on the merits to the criminal charge itself.”). This Court should

actively safeguard the integrity of its proceedings by precluding such improper comments.

II.    The Court Should Impose Safeguards to Protect the Jury from Undue Extrajudicial
       Pressure.

       Each morning during trial, the jury had to walk down a long public hallway from the

elevator to the jury room. Defendant Menendez, his family, his attorneys, his employees, and his

supporters lined the hallway each morning until the last juror had passed. The jury thus had to

walk a gauntlet of the defense team each morning before court. Defendant Menendez also

periodically held prayer circles with dressed clergy and sung religious hymns in the same hallway.

See, e.g., Nick Corasaniti and Nate Schweber, Corruption Case Against Senator Menendez Ends

in Mistrial, N.Y. TIMES, Nov. 16, 2017 (noting that defendant Menendez “would occasionally pray,



                                                 3
Case 2:15-cr-00155-WHW Document 318 Filed 01/19/18 Page 4 of 6 PageID: 11375




gathering with clergy outside the courthouse and sometimes was heard singing ‘Amazing Grace’

in an elevator”); Nicholas Pugliese, Menendez defense rests after judge denies motion for mistrial,

NorthJersey.com, Oct. 30, 2017 (noting that before the Court’s ruling on the defendants’ motion

for a mistrial, defendant Menendez “was humming ‘Amazing Grace’ while strolling the hallways

of the federal courthouse in Newark, similar to what he reportedly did during another critical

juncture in the case”). The defendants and their supporters are of course permitted to congregate

in the public hallways, but the jurors should not be subjected to their congregation. At the end of

each day, the jurors were permitted to exit the courtroom through a private corridor, and exit the

courthouse with an escort from the U.S. Marshals Service. The Government respectfully requests

that the same safeguards be provided each morning.

III.   Conclusion

       The public holds a substantial interest in the fair resolution of the serious corruption

charges against the defendants, and is entitled to a verdict based solely on the facts and the law.

The defendants and their counsel should not be permitted to undermine the integrity of that

resolution by inviting the jury to violate its oath with improper considerations of ethnicity or

partisan politics. Accordingly, the Government respectfully requests that this Court prohibit the

defendants from making irrelevant and improper arguments or comments at trial based on race,

political affiliation, or any other extraneous claims that invite nullification. The Court should also

arrange for the jury’s private and secure entrance to and exit from the courthouse.

       Respectfully submitted this 19th day of January, 2018.

                                               ANNALOU TIROL
                                               ACTING CHIEF
                                               PUBLIC INTEGRITY SECTION




                                                  4
Case 2:15-cr-00155-WHW Document 318 Filed 01/19/18 Page 5 of 6 PageID: 11376




                             By:   s/ Peter Koski
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                                     5
Case 2:15-cr-00155-WHW Document 318 Filed 01/19/18 Page 6 of 6 PageID: 11377




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this date, I electronically filed the foregoing pleading with

the Clerk of the Court using the CM/ECF system, which will send notification of such filing to the

attorneys of record for the defendants.


Dated: January 19, 2018                      s/ J.P. Cooney
                                             Peter Koski
                                             Deputy Chief
                                             Public Integrity Section
                                             Criminal Division
                                             U.S. Department of Justice
